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NOT FOR PUBLICATION

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                                    :
KEVIN PARISI,                                       :
                                                    :
                                                    :
                      Plaintiff,                    :
                                                    :       Civil Action No. 14-2263 (ES)
                                                    :
               v.                                   :
                                                    :                      ORDER
DREW UNIVERSITY, et al.,                            :
                                                    :
                      Defendants.                   :
                                                    :

SALAS, DISTRICT JUDGE

       For the reasons stated on the record during the April 21, 2015 Oral Argument, the Court

grants Defendant Drew University’s motion to dismiss Plaintiff Kevin Parisi’s Title IX claim

without prejudice. (D.E. No. 9). Having dismissed Plaintiff’s only federal claim, the Court

declines to exercise jurisdiction over the remaining state law and declaratory judgment claims and

dismisses these claims without prejudice. The Clerk of the Court shall mark this case CLOSED.



                                                            /s/Esther Salas       -
                                                            Esther Salas, U.S.D.J.
